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         EXHIBIT 140
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                                                                                  Page 1
                           UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
         ______________________________
         RICHARD KADREY, et al.,                        )
         Individual and Representative )
         Plaintiffs,                                    )    CASE NO.
                                                        )    3:23-cv-03417-
                      -against-                         )    VC
         META PLATFORMS, INC.,                          )
                                     Defendant.         )
         ______________________________)


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                                      CHRIS BAKEWELL
                                          Cooley LLP
                                     55 Hudson Yards
                              New York, New York 10001
                                          02/21/2025
                                     10:11 a.m. (EST)


                      REPORTED BY:           AMANDA GORRONO, CLR
                                   CLR NO. 052005-01
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                                                                               Page 264
  1     says quoted prices and active markets, this is                            16:15:45


  2     talking about stuff that's like on a stock                                16:15:48


  3     exchange.                                                                 16:15:51


  4             Q.    But there is -- in --     in comparing                      16:15:56


  5     intellectual property assets, right, there is --                          16:16:02


  6     it's rare that there are sort of identical                                16:16:08


  7     comparators, correct?                                                     16:16:13


  8             A.    Well, you got to keep the context of                        16:16:14


  9     this in mind.     As I said earlier, this -- this is                      16:16:16


 10     in the context of something being, like, quoted                           16:16:19


 11     in an active market, meaning like on a stock                              16:16:23


 12     exchange.    And no, intellectual property and                            16:16:26


 13     intangible assets generally are not traded on a                           16:16:31


 14     stock exchange.     That's what that means.                               16:16:35


 15             Q.     Right.   But I'm asking a different                        16:16:37


 16     question, which is that the -- there is rarely                            16:16:38


 17     identicality in making comparator data points for                         16:16:44


 18     pricing intellectual property, correct?                                   16:16:53


 19             A.     Rarely identicality, does that show                        16:16:57


 20     up here?                                                                  16:16:59


 21             Q.     Whether or not it shows up, I'm                            16:17:00


 22     asking you that question as someone who has a lot                         16:17:02




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                                                                                Page 265
  1     of experience in licensing and valuation.                                  16:17:05


  2             A.      Yeah.   I know enough to know and                          16:17:06


  3     I'll say this with respect because this is not                             16:17:08


  4     your area of expertise, but this -- your like --                           16:17:12


  5     your question is mixing up some concepts.        And                       16:17:16


  6     this relates to assets in general and a                                    16:17:19


  7     categorization for outdated accounting rules in                            16:17:23


  8     levels like observable inputs.      And this Level 1                       16:17:28


  9     relates to things that are bought and sold on an                           16:17:33


 10     exchange like -- like prices of stock, for                                 16:17:37


 11     example.     And that way using that -- those                              16:17:42


 12     dimensions, for comparison, you don't see that                             16:17:51


 13     with intangible assets.                                                    16:17:57


 14             Q.      So I want to come back to that in a                        16:17:59


 15     second, but the -- the books at issue here,                                16:18:04


 16     you're saying cannot be likened to -- to                                   16:18:06


 17     equities, correct?                                                         16:18:11


 18             A.      Well, I don't know you can for what                        16:18:15


 19     purpose, but they are not -- the intangible                                16:18:17


 20     aspects are not -- they are not bought and sold                            16:18:21


 21     on an exchange.     The -- what we're talking about                        16:18:24


 22     here is an issue.                                                          16:18:28




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                                                                                Page 291
  1     book sales?                                                                16:48:36


  2             A.      I don't know what you're referring                         16:48:37


  3     to.                                                                        16:48:39


  4             Q.      Are you aware that --                                      16:48:39


  5             A.      Can you be more specific?                                  16:48:40


  6             Q.      Sure.                                                      16:48:41


  7                     Are you aware that Dr. Sinkinson                           16:48:42


  8     purported to study the effect of the release of                            16:48:44


  9     one of the Llama models on book sales?                                     16:48:53


 10             A.      Yes.                                                       16:48:59


 11             Q.      Did you independently assess the                           16:48:59


 12     reliability of that study?                                                 16:49:01


 13                     MR. MORTON:   Object to form.                              16:49:04


 14             A.      So he can -- he's the expert on                            16:49:07


 15     that.   That's his area of expertise.      I                               16:49:09


 16     considered what he said.      It seemed reasonable                         16:49:13


 17     from my point of view, but I'm not here to, like,                          16:49:17


 18     endorse his work.                                                          16:49:23


 19     BY MS. GEMAN:                                                              16:49:26


 20             Q.      You're not relying on his study,                           16:49:26


 21     correct, for your conclusions?                                             16:49:28


 22                     MR. MORTON:   Object to form.                              16:49:31




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 15
 16
 17
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